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                                                                   9                          UNITED STATES DISTRICT COURT
                                                                  10                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                  11                               (HON. THOMAS J. WHELAN)
                                                                  12   UNITED STATES OF AMERICA,                    Case No. 18-CR-3677-W
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13                      Plaintiff,                DEFENDANT’S RESPONSE IN
                                    750 B STREET, SUITE 2100




                                                                                                                    OPPOSITION TO GOVERNMENT’S
                                                                  14               v.                               MOTION TO EXCLUDE IMPROPER
                                                                                                                    EVIDENCE CONCERNING
                                                                  15   DUNCAN D. HUNTER,                            CHARACTER AND GOOD ACTS
                                                                  16                      Defendant.                DATE:             July 1, 2019
                                                                                                                    TIME:             10:00 a.m.
                                                                  17                                                COURTROOM:        3C
                                                                                                                    JUDGE:            Hon. Thomas J. Whelan
                                                                  18
                                                                  19         Defendant DUNCAN D. HUNTER (“Mr. Hunter”), by and through his attorneys,
                                                                  20   Gregory A. Vega, Ricardo Arias, and Philip B. Adams, hereby submits this response in
                                                                  21   opposition to the Government’s motion to exclude improper evidence concerning
                                                                  22   character and good acts.
                                                                  23                                   I.   INTRODUCTION
                                                                  24         Although evidence of specific good acts is inadmissible unless they pertain to a
                                                                  25   pertinent trait, reputation and opinion evidence regarding Mr. Hunter’s good character is
                                                                  26   admissible under Federal Rules of Evidence 404(a) and 405. Furthermore, Rule 403
                                                                  27   does not provide a bar to admissibility of otherwise admissible evidence regarding
                                                                  28   Mr. Hunter’s good character.

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                                                                   1                            II.   RESPONSE IN OPPOSITION
                                                                   2   A.      Evidence of Hunter’s Military Service is Admissible For Substantive
                                                                               Purposes
                                                                   3
                                                                   4           The Government argues that FRE 404 precludes admissibility of evidence
                                                                   5   relating to Mr. Hunter’s military service because his traits of “patriotism, bravery, or
                                                                   6   community spirit” are not pertinent to the Government’s allegations. [ECF 50 at 4.]
                                                                   7   However, Rule 404 only states that evidence of a person’s character or character trait is
                                                                   8   not admissible to prove that the person acted in accordance with the character or trait.
                                                                   9   Fed. R. Evid. 404(a)(1). Rule 404’s prohibition on specific acts evidence likewise only
                                                                  10   prevents the use of evidence of specific prior acts to prove that the person acted in
                                                                  11   accordance with a certain character. Rule 404(b). Mr. Hunter does not intend to
                                                                  12   introduce evidence of his military service to prove his good character, but rather for a
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                                                                  13   substantive purpose.
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                                                                  14           Mr. Hunter’s military service is relevant to show he left his family’s financial
                                                                  15   responsibilities to his wife while on deployment in Iraq and Afghanistan, and this
                                                                  16   arrangement continued throughout the period of the indictment. As the Government
                                                                  17   itself notes, “some amount of background evidence, including some description of his
                                                                  18   military service or volunteer service, would be appropriate.” [ECF 50 at 3.] See also,
                                                                  19   U.S. v. Blackwell, 853 F.2d 86, 88 (2nd Cir. 1988) (testimony concerning defendant’s
                                                                  20   service in the Marine Corps was properly received as background evidence). Because
                                                                  21   Mr. Hunter will introduce evidence of his military service to show his wife’s control of
                                                                  22   the family’s finances, rather than for good character purposes, Rule 404 does not bar
                                                                  23   admissibility, and the evidence should be allowed in as background evidence.
                                                                  24   B.      Evidence of Hunter’s Good Character is Admissible Under the Federal Rules
                                                                               of Evidence
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                                                                  26           As a threshold to admissibility, evidence must be relevant. Fed. R. Evid. 402.
                                                                  27   While evidence of a person’s character or character trait is generally not admissible to
                                                                  28   prove that the person acted in accordance with the character or trait, a defendant in a
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                                                                   1   criminal case may offer evidence of the defendant’s pertinent trait. Rule 404(a). When
                                                                   2   evidence of a person’s character is admissible, it can be proven by reputation or opinion
                                                                   3   testimony. Rule 405(a).
                                                                   4         Evidence that a defendant has a law-abiding character is always relevant. U.S. v.
                                                                   5   De Leon, 728 F.3d 500, 504-05 (5th Cir. 2013); see also U.S. v. Yarbrough, 527 F.3d
                                                                   6   1092, 1102 (10th Cir. 2008) (“[W]hen… the defendant in a criminal case seeks to offer
                                                                   7   evidence of his good character to imply that he is unlikely to have committed a crime,
                                                                   8   the general rule against propensity evidence is not applied.” (quoting Kenneth S. Broun,
                                                                   9   1 McCormick on Evidence § 191 (6th ed., 2006)); U.S. v. Angelini, 678 F.2d 380, 382
                                                                  10   (1st Cir. 1982) (“[T]he trait of law-abidingness was relevant and admissible under Rule
                                                                  11   404(a).”). In U.S. v. Diaz, 961 F.2d 141 (9th Cir. 1992), the Ninth Circuit expressly
                                                                  12   agreed with the First Circuit’s opinion in Angelini and the Fifth Circuit’s opinion in U.S.
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                                                                  13   v. Hewitt, 634 F.2d 277 (5th Cir. 1981), approving the admissibility of evidence of a
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                                                                  14   general character of “lawfulness” or “law-abidingness.”
                                                                  15         Additionally, the United States Supreme Court has explained that the defendant in
                                                                  16   a criminal trial can introduce affirmative testimony that “the general estimate of his
                                                                  17   character is so favorable that the jury may infer that he would not be likely to commit
                                                                  18   the offense charged.” Michelson v. U.S., 335 U.S. 469, 476 (1948). The privilege to
                                                                  19   introduce favorable character evidence is valuable because such testimony alone “may
                                                                  20   be enough to raise a reasonable doubt of guilt.” Id.
                                                                  21         In addition to introducing evidence of his military service for a substantive
                                                                  22   purpose, Mr. Hunter has the right to introduce favorable character evidence, either in
                                                                  23   pursuit of the purpose of demonstrating a character for lawfulness or in pursuit of the
                                                                  24   purpose of demonstrating a general favorable character. Although Mr. Hunter cannot
                                                                  25   introduce evidence of specific acts, such as individual commendations for his military
                                                                  26   service, that does not preclude general reputation or opinion evidence establishing his
                                                                  27   character for lawfulness or his “favorable” character.
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                                                                   1   C.      Rule 403 Does Not Bar Admissibility of Evidence Either For a Substantive
                                                                               Purpose or as Evidence of Hunter’s Good Character
                                                                   2
                                                                   3           Rule 403 allows a Court to exclude otherwise admissible evidence when the
                                                                   4   probative value of the evidence is substantially outweighed by one or more of the
                                                                   5   dangers of unfair prejudice, confusing the issues, misleading the jury, undue delay,
                                                                   6   wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403.
                                                                   7           1.    Rule 403 does not preclude use of evidence of Hunter’s military service
                                                                                     for its substantive purpose.
                                                                   8
                                                                   9           The Ninth Circuit has held that exclusion of evidence offered by a defendant
                                                                  10   under Rule 403 is “an extraordinary remedy to be used sparingly,” and that “the danger
                                                                  11   of [unfair] prejudice must not merely outweigh the probative value of the evidence, but
                                                                  12   substantially outweigh it.” U.S. v. Mende, 43 F.3d 1298, 1302 (9th Cir. 1995) (emphasis
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                                                                  13   in original). Additionally, that court has explained that application of Rule 403 must be
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                                                                  14   “cautious and sparing” because the Rule’s “major function is limited to excluding
                                                                  15   matter of scant or cumulative probative force, dragged in by the heels for the sake of its
                                                                  16   prejudicial effect.” U.S. v. Hankey, 203 F.3d 1160, 1172 (9th Cir. 2000) (quoting U.S. v.
                                                                  17   Mills, 704 F.2d 1553, 1559 (11th Cir. 1983)).
                                                                  18           Mr. Hunter’s substantive use of evidence of his military service does not present
                                                                  19   the sort of case where the “extraordinary remedy” of exclusion under 403 should be
                                                                  20   used. Mr. Hunter’s use is intended to show his wife’s control of the family finances,
                                                                  21   which is not a “matter of scant or cumulative probative force” in the way contemplated
                                                                  22   by the Ninth Circuit. The prejudicial effect upon the jury, if any, of his military service
                                                                  23   will not be so great as to “substantially outweigh” the probative value of demonstrating
                                                                  24   Mrs. Mr. Hunter’s control of the finances.
                                                                  25           2.    Rule 403 does not generally preclude use of evidence of Hunter’s good
                                                                                     character.
                                                                  26
                                                                  27           In support of its contention that Rule 403 necessarily excludes good character
                                                                  28   evidence, the Government cites a single district court case from Louisiana, where the
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                                                                   1   court excluded evidence of a defendant police officer’s prior specific acts under 403. In
                                                                   2   that case, the court held that the evidence should be excluded on grounds of the danger
                                                                   3   of “confusion of the issues, misleading the jury, considerations of undue delay, and a
                                                                   4   waste of time.” U.S. v. Warren, 2010 WL 4668345, *5 (E.D. La. 2010). From this
                                                                   5   narrow holding, the Government argues that the probative value of any good character
                                                                   6   evidence Mr. Hunter might produce would necessarily be outweighed by the dangers of
                                                                   7   “unfair prejudice” and appealing to the jury’s emotions. ECF 50 at 5.
                                                                   8           Besides stretching the language of Warren far beyond what the court in that case
                                                                   9   stated, this position ignores the substantial weight of authority behind the admissibility
                                                                  10   of good-character evidence. See, De Leon, 728 F.3d at 505 (stating that exclusion of
                                                                  11   evidence that defendant was a law-abiding citizen was abuse of discretion); See, also,
                                                                  12   Yarbrough, 527 F.3d at 1100-01 (holding that exclusion of evidence that defendant was
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                                                                  13   a trusted police officer was abuse of discretion).
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                                                                  14           Based on the substantial weight of authority supporting the admissibility of good-
                                                                  15   character evidence, Rule 403 provides no general bar to admission of evidence of Mr.
                                                                  16   Hunter’s good character.
                                                                  17                                     III.    CONCLUSION
                                                                  18           For the foregoing reasons, Mr. Hunter respectfully requests the Court deny the
                                                                  19   Government’s motion to exclude improper evidence concerning character and good
                                                                  20   acts.
                                                                  21
                                                                  22   Dated: June 28, 2019                     SELTZER CAPLAN McMAHON VITEK
                                                                                                                A Law Corporation
                                                                  23
                                                                  24                                             By:     s/ Gregory A. Vega
                                                                                                                         Gregory A. Vega
                                                                  25                                                     Ricardo Arias
                                                                  26                                                     Philip B. Adams
                                                                                                                Attorneys for Defendant, DUNCAN D. HUNTER
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